              Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 1 of 29
                                                                                                United States Bankruptcy Court
                                                                                                    Southern District of Texas

                                                                                                       ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                          April 29, 2024
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                        Nathan Ochsner, Clerk
                                   HOUSTON DIVISION

                                                            )
     In re:                                                 )        Chapter 11
                                                            )
     GALLERIA 2425 OWNER, LLC,                              )
                                                            )        Case No. 23-34815 (JPN)
                            Debtor.                         )
                                                            )

                    PROPOSED ORDER (I) APPROVING PROCEDURES FOR
                 THE SALE OF PROPERTY FREE AND CLEAR OF ALL LIENS,
               CLAIMS AND ENCUMBRANCES; (II) SCHEDULING AN AUCTION;
                  (III) AUTHORIZING ENTRY INTO THE STALKING HORSE
                  PURCHASE AGREEMENT; (IV) APPROVING ASSUMPTION
                AND ASSIGNMENT PROCEDURES; (V) APPROVING FORM OF
                NOTICE; AND (VI) GRANTING RELATED RELIEF (ECF No. 188)
          Upon the motion of the Trustee for entry of an order pursuant to sections 105(a), 363, and

365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004 and 6006 for an Order (i)

approving procedures for the sale of property free and clear of all liens, claims and

encumbrances; (B) scheduling an auction; (C) approving the form of purchase agreement and

stalking horse bidder; (D) approving assumption and assignment procedures; (E) approving form

of notice; and (F) granting related relief dated April 5, 2024 [ECF No. 188] (the

“Motion”); 1 the objections by 2425 WL, LLC (ECF No. 242), the objection by the debtor (ECF

No. 244) and the Omnibus Reply by the Chapter 11 Trustee (ECF No. 247), and this Court

having jurisdiction over this matter pursuant to 28 U.S.C. § 1334; and this matter being a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and venue of this Motion being proper pursuant to

28 U.S.C. §§ 1408 and 1409; and adequate notice of, and the opportunity for a hearing on, the

Motion having been given; and based on the pleadings and testimony of the parties in previous

hearings; this Court finds that the time provided for marketing is sufficient, that this order

represents the business judgment of the Trustee, the relief requested in the Motion is in the best

interests of the estate, its creditors and other parties in interest, and this
 1
   Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Motion or the Bid
 Procedures, as applicable.
       Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 2 of 29



Court having determined that the legal and factual bases set forth in the Motion, the

pleadings and prior testimony establish just cause for the relief granted herein; and upon the

record herein, and after due deliberation and sufficient cause appearing therefor,

       THE COURT HEREBY FINDS THAT:

       A.     Bid Procedures. The Trustee has articulated good and sufficient reasons for

authorizing and approving the Bid Procedures, which are fair, reasonable, and appropriate under

the circumstances and designed to maximize the recovery on the Property.

       B.       Stalking Horse Purchase Agreement. (ECF No. 197) The Trustee has

demonstrated and proven that entry into the Stalking Horse Agreement is in the best interests of

the estate and its creditors and that performance under the Stalking Horse Agreement represents

a prudent exercise of the Trustee’s business judgment. The Bid Procedures and the Stalking

Horse Agreement were negotiated at arm’s length and in good faith by the Trustee and the

Stalking Horse Bidder, without collusion. Furthermore, the Stalking Horse Agreement will serve

as a minimum or floor bid on which bidders may rely. The Stalking Horse Bidder has provided a

material benefit to the estate and its creditors by increasing the likelihood that, given the

circumstances, the best possible price for the Property will be received. The Stalking Horse

Agreement represents the highest or otherwise best offer that the estate has received to date to

purchase the Property. The process for selection of the Stalking Horse Bidder was fair and

appropriate under the circumstances and in the best interests of the estate. Accordingly, the

Trustee’s entry into the Stalking Horse Agreement is reasonable and appropriate.

       C.     Stalking Horse Bidder. The Stalking Horse Bidder is not an “insider” of the

Debtor, as those terms are defined in section 101 of the Bankruptcy Code, and no common identity

of incorporators, directors, or controlling stakeholders exist between the Stalking Horse Bidder




                                                2
       Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 3 of 29




and the Debtor. The Stalking Horse Bidder and its counsel and advisors have acted in “good faith”

in connection with the Stalking Horse Bidder’s negotiation of the Bid Procedures and entry into

the Stalking Horse Agreement.

       D.      Sale Notice. The Sale Notice Package reasonably provides all interested parties

with timely and proper notice of the proposed Sale, including: (i) the date, time, and place of the

Auction (if one is held); (ii) the Bid Procedures and certain dates and deadlines related thereto;

(iii) the objection deadline for the Sale and the date, time, and place of the Sale Hearing; (iv)

reasonably specific identification of the asset for sale; (v) instructions for promptly obtaining a

copy of the Stalking Horse Agreement; (vi) representations describing the Sale of the Property as

being free and clear of liens, claims, interests, and other encumbrances, with all such liens, claims,

interests, and other encumbrances attaching with the same validity and priority to the sale proceeds

subject to customary exceptions for permitted liens; (vii) the commitment by the Stalking Horse

Bidder to assume certain liabilities disclosed in the Stalking Horse Agreement; and (viii) notice of

the proposed assumption and assignment of the Assigned Contracts (or to another Successful

Bidder arising from the Auction, if any) and the right, procedures, and deadlines for objecting

thereto, and no other or further notice of the Sale shall be required.

       E.      Auction. The Auction, if held, is necessary to determine whether any entity other

than the Stalking Horse Bidder is willing to enter into a definitive agreement on terms and

conditions more favorable than the Stalking Horse Agreement.

       F.      Assumption & Assignment Procedures. The Assumption & Assignment

Procedures are reasonably calculated to provide counterparties to the Assigned Contracts with

proper notice of the intended assumption and assignment of their executory contracts, any cure

amounts herein), and the Assumption & Assignment Procedures (as defined herein).




                                                  3
       Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 4 of 29




        IT IS HEREBY ORDERED THAT:

       1.      The Motion is GRANTED to the extent set forth in this Order.

       2.      Bid Deadline. June 14, 2024, at 5:00 p.m. (prevailing Central Time) is the deadline

by which all Qualified Bids must be actually received by the Notice Parties specified in the Bid

Procedures.

       3.      Auction. June 18, 2024, at 1:00 p.m. (prevailing Central Time) is the date and time

the Auction, if one is needed, will be held in accordance with the Bid Procedures. The Trustee

will send written notice of the date, time, and place of the Auction to the Qualified Bidders no later

than two (2) business days before such Auction.

       4.      Notice of Successful Bidder. Upon conclusion of the Auction, the Trustee shall

file a Notice of Successful Bidder.

       5.      Sale Objection Deadline. Objections to the Sale, if any, must be made on or before

July 1, 2024 (the “Sale Objection Deadline”) and served on the following parties so as to be

actually received by or before the Sale Objection Deadline: (i) the Chapter 11 Trustee, Christopher

R. Murray, Jones Murray LLP, 602 Sawyer Street, Suite 400, Houston, TX 77007, email,

chris@jmbllp.com; (ii) counsel to the Chapter 11 Trustee, R.J. Shannon and Kyung S. Lee,

Shannon & Lee LLP, 2100 Travis Street, Suite 1525, Houston, TX 77002, email:

klee@shannonleellp.com, rshannon@shannonleellp.com; (iii) counsel to NBK, Charles C.

Conrad, Andrew M. Troop and Patrick E. Fitzmaurice, Pillsbury Winthrop Shaw Pittman LLP,

609 Main Street Suite 2000, Houston, TX 77002, email, charles.conrad@pillsburylaw.com;

patrick.fitzmaurice@pillsburylaw.com; andrew.troop@pillsburylaw.com; (iv) Office of the

United States Trustee for Region 7, Houston Division, 515 Rusk Street, Suite 3516, Houston,

Texas, 77002 (Attn. Jane S. Whitworth), email: jana.whitworth@usdoj.gov; and (v) counsel to the




                                                  4
       Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 5 of 29



Debtor, Reese W. Baker, 950 Echo Lane, Suite 300, Houston, Texas 77024, email:

Reese.Baker@bakerassociates.net.

       6.      Sale Hearing. July 8, 2024, at 9:00 a.m. (prevailing Central Time), is the date

and time for the hearing for the Court to consider the Successful Bid, if needed.

        7.      Sale Closing. Closing of the Sale shall occur promptly after Court approval of the

Sale pursuant to the terms of any agreement or the Sale Order.

        8.      Free and Clear of Any and All Claims and Interests. Except as provided in any

agreement with respect to the sale approved by the Court, upon entry of the applicable sale order,

all of the estate’s right, title and interest in and to the Property shall be sold free and clear of any

pledges, liens, security interests, encumbrances, claims, charges, options and interests thereon to

the maximum extent permitted by section 363 of the Bankruptcy Code, with such interests to attach

to the net proceeds of the sale with the same validity and priority as such interests applied against

the Property purchased pursuant to these procedures.

        9.      No Other Bids for Acquired Assets. If the Stalking Horse Bidder’s bid, as

reflected in the Stalking Horse Agreement, is the only Qualified Bid with respect to the Property

that is received by the Trustee by the Bid Deadline, no Auction shall be conducted for the Property

and the Stalking Horse Bidder will be the Successful Bidder for the Acquired Assets. In such

circumstances, the Trustee shall notify the Court and promptly seek approval of the Stalking Horse

Agreement.

        10.     The Bid Procedures in the form attached to this Order as Exhibit 1 are

APPROVED, and the Trustee is authorized to take any and all actions necessary and/or

appropriate to implement the Bid Procedures.

       11.     The Stalking Horse Agreement in the form attached to this Order as Exhibit 2 is




                                                   5
       Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 6 of 29




APPROVED, and the Trustee is authorized to enter into the Stalking Horse Agreement with the

Stalking Horse Bidder. The Stalking Horse Bidder shall be deemed a Qualified Bidder, and the bid

of the Stalking Horse Bidder contemplated by the Stalking Horse Agreement (the “Stalking Horse

Bid”) shall be deemed a Qualified Bid.

       12.     The Assumption & Assignment Procedures in the form attached to this Order as

Exhibit 3 are APPROVED, and the Trustee is authorized to take any and all actions necessary

and/or appropriate to implement the Assumption & Assignment Procedures.

       13.     The Sale Notice in the form attached to this Order as Exhibit 4 is APPROVED.

       14.     Five (5) days after entry of this Order, the Trustee shall publish the Notice (or an

abbreviated version thereof) in a local Houston publication of general interest as the Trustee

determines will promote the marketing and sale of the Property. Nothing in this Order limits the

Trustee’s ability to publish the Notice (or abbreviated version thereof) in any other publication.

       15.     The Trustee shall serve the Sale Notice, the Bid Procedures Order and the Bid

Procedures upon the following parties and their counsel, if known: (a) NBK; (b) the Office of the

United States Trustee for the Southern District of Texas; (c) Naissance Galleria, LLC; (c) the

Debtor; (d) any parties known or reasonably believed to have expressed an interest in the Property;

and (e) any party that has requested notice pursuant to Bankruptcy Rule 2002.

       16.     The Trustee shall serve the Assumption & Assignment Procedures on all creditors

and interest holders, and executory contract counterparties, identified in the Debtor’s Schedules.

       17.     Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 6006(d),

7062, 9014, or any applicable provisions of the Local Rules or otherwise, the terms and conditions

of this Order shall be immediately effective and enforceable upon its entry, and no automatic stay

of execution shall apply to this Order.




                                                 6
       Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 7 of 29




       18.     To the extent the provisions of any Exhibits to this Order are inconsistent with this

Order, this Order shall control.

       19.     This Court shall retain jurisdiction to resolve any dispute relating to the

interpretation of the Bid Procedures and this Order.



                   April
                    April29,04,2024
                                2018                   Honorable Jeffery P. Norman
                                                       United States Bankruptcy Judge




                                                 7
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 8 of 29




                            Exhibit 1

                          Bid Procedures
          Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 9 of 29




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re:                                        §
                                               §
 GALLERIA 2425 Owner, LLC                                         Case No. 23-34815 (JPN)
                                               §
                                               §                  Chapter 11
                Debtor.                        §
                                               §


                                       BID PROCEDURES

        On December 5, 2023, the above-captioned debtor (the “Debtor”) filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”), in the United States Bankruptcy Court for the Southern District of Texas, Houston
Division (the “Bankruptcy Court”).

        On April 29, 2024, the Bankruptcy Court entered an order [ECF No. ___] (the
“Bid Procedures Order”) approving, among other things, these bidding procedures (the
“Bid Procedures”), and authorizing the Trustee to enter into an asset purchase
agreement (the “Stalking Horse Agreement”) with National Bank of Kuwait, S.A.K.P.,
New York Branch (“NBK” or “Stalking Horse Bidder”) or another successful bidder or
bidders (each, a “Successful Bidder”) for the sale of certain property located at 2425
West Loop South, Houston, Texas 77027 (the “Property”), pursuant to which, among other
things, the Stalking Horse Bidder has committed to in the form of a credit bid: (a)
purchase, acquire, and take assignment and delivery of, free and clear of all liens, claims,
encumbrances, and other interests (except as otherwise provided in the Stalking Horse
Agreement), certain assets associated with the Property as set forth in the Stalking
Horse Agreement, and (b) assume certain liabilities associated with the Debtor as set forth in
the Stalking Horse Agreement (collectively, the “Stalking Horse Bid”).

       The Bid Procedures set forth the process by which the Trustee is authorized to solicit the
highest or otherwise best bid (each, a “Bid”) for the sale of the Property, culminating in an
auction (the “Auction”) if competing bids are received. The sale (the “Sale”) will be
implemented through a chapter 11 plan or a standalone sale order that ensures that the Sale is
incorporated in a chapter 11 plan.

       Copies of the Bid Procedures Order are available upon request from the undersigned
counsel for the Trustee.

                a. Potential Bidder. For purposes of the Bid Procedures, a “Potential Bidder”
                   shall refer to any person or entity interested in submitting a bid.

                b. Asset to Be Sold. The Trustee is offering the Property for Sale. The estate shall
                   retain all rights and title to assets that are not subject to a bid approved by the
                   Bankruptcy Court at the Sale Hearing (as defined herein). The asset to be sold
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 10 of 29




         hereunder shall be the “Property” as that term is defined in the Stalking Horse
         Agreement.

      c. Broker. The Trustee shall retain a commercial real estate broker (the “Broker”)
         to market the Property and shall seek approval of such retention from the
         Bankruptcy Court. The fees or expenses of the Broker shall be paid by the as
         set forth in the Sale Order or a plan of reorganization.

      d. The Bidding Process. The Trustee shall: (i) determine whether any person is a
         Potential Bidder; (ii) coordinate the efforts of Potential Bidders in conducting
         their respective due diligence regarding the Property; (iii) receive offers from
         Qualified Bidders (as defined herein); and (iv) negotiate any offer made to
         purchase the Property, together or separately (collectively, the “Bidding
         Process”). The Trustee shall not be obligated to furnish any information relating
         to the Property to any person who is not a Potential Bidder.

      e. Access to Due Diligence. Any Potential Bidder that executes the confidentiality
         agreement attached as Schedule 1 to the Bid Procedures provides sufficient
         evidence, as reasonably determined by the Trustee, that the Potential Bidder
         intends to obtain due diligence and participate in the Sale consistent with these
         Bid Procedures will be eligible to receive due diligence materials and access to
         certain non-public information regarding the Property. The Trustee will provide
         each Potential Bidder due diligence materials regarding the Property. Due
         diligence also may include presentations as may be scheduled by the Trustee,
         onsite inspections and such other matters which a Potential Bidder may request
         and as to which the Trustee may agree in his reasonable discretion, provided
         that all such information shall be made available to each Potential Bidder on an
         equal basis. The Trustee is not obligated to furnish any information relating to
         the Property to any person except to Potential Bidders. Potential Bidders are
         advised to exercise their own discretion before relying on any information
         regarding the Property provided by anyone other than the Trustee.

      f. Bid Requirements. To be eligible to participate in the Auction, a Potential
         Bidder must deliver to the Trustee, a written, irrevocable offer that must be
         determined by the Trustee to satisfy each of the following conditions:

         i.   Purpose. The Potential Bidder offers to purchase the Property upon the
              terms and conditions set forth in an executed Stalking Horse Agreement,
              together with all exhibits, schedules and ancillary agreements related
              thereto, and as amended and in effect.

        ii.   Purchase Price. Each Bid must clearly set forth the purchase price to be
              paid for the Property (the “Purchase Price”) and must indicate the source
              of cash consideration checks, and cash equivalents, as applicable, including
              funding commitments, and confirm that such consideration is not subject
              to any contingencies.
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 11 of 29




        iii.   Bid Deposit. Each Bid must be accompanied by a deposit into escrow with
               the Trustee of an amount equal to ten percent (10%) of the cash purchase
               price to be paid in accordance with their bid (the “Good Faith Deposit”).

        iv.    Committed Financing. If a Bid is not accompanied by evidence of the
               Potential Bidder’s capacity to consummate the Sale transaction set forth in
               its Bid with cash on hand, each Bid must include committed financing
               documented to the Trustee.

         v.    Good Faith Offer. Each Bid must constitute a good faith, bona fide,
               irrevocable offer to purchase the Property set forth in such Bid.

        vi.    Marked Agreement. Each Bid must be accompanied by clean and duly
               executed transaction documents including, a draft purchase agreement, the
               form of which will be provided to any Potential Bidder prior to the Bid
               Deadline, including the exhibits and schedules related thereto, and any
               related material documents integral to such Bid pursuant to which the
               Potential Bidder proposes to effectuate the Sale, along with redlines of
               such agreement marked against the form purchase agreement provided.

       vii.    Contracts and Leases. Each Bid must identify each executory contract
               and unexpired lease, the assumption and assignment of which is a
               condition to Closing a Sale; provided that if the Trustee identifies any
               additional executory contracts or unexpired leases after the Bid is
               submitted, the Bid may allow for the Potential Bidder to add such
               executory contracts and unexpired leases to the list of contracts to be
               assumed and assigned any time from and after the Bid is submitted.

       viii.   No Contingencies. A Bid must clearly state that it is not subject to any
               financing conditions or contingencies.

        ix.    Binding and Irrevocable. A Potential Bidder’s Bid is irrevocable unless
               and until the Trustee accepts a higher Bid and such Potential Bidder is not
               selected as the Back-Up Bidder (defined hereinafter). If a Bid is chosen as
               the Back-Up Bid, it must remain irrevocable until the Trustee and the
               Successful Bidder consummate the Sale.

         x.    Adequate Assurance Information. Each Bid must be accompanied by
               sufficient and adequate financial and other information (the “Adequate
               Assurance Information”) to demonstrate, to the reasonable satisfaction of
               the Trustee that such Potential Bidder (a) has the financial wherewithal and
               ability to consummate the sale of the Property (the “Closing”), and (b) can
               provide adequate assurance of future performance in satisfaction of the
               requirements under section 365(f)(2)(B) of the Bankruptcy Code, and the
               Potential Bidder’s willingness to perform under any contracts that are
               assumed and assigned to such party. The Bid must also identify a contact
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 12 of 29




               person that parties may contact to obtain additional Adequate Assurance
               Information.

        xi.    Identity & Corporate Authority. Each Bid must fully disclose the
               identity of each entity that will be participating in connection with such
               Bid, and the complete terms of any such participation, along with sufficient
               evidence that the Potential Bidder is legally empowered, by power of
               attorney or otherwise, to complete the transactions on the terms
               contemplated by the parties. A Bid must also fully disclose any
               connections or agreements with the Debtor, any known, potential,
               prospective bidder, or Qualified Bidder (as defined herein), or any officer,
               director, or equity security holder of the Debtor.

       xii.    Authorization. Each Bid must contain evidence that the Potential Bidder
               has obtained authorization from its board of directors (or a comparable
               governing body reasonably acceptable to the Trustee as to the submission
               of its Bid and the consummation of the transactions contemplated in such
               Bid.

       xiii.   No Fees. Each Potential Bidder will bear its own costs and expenses
               (including legal fees) in connection with the proposed transaction. By
               submitting its Bid, each Potential Bidder agrees to waive any assertion or
               request for reimbursement on any basis, including under section 503(b) of
               the Bankruptcy Code. Each Bid must expressly state that the Bid does not
               entitle the Potential Bidder to any break-up fee, termination fee, expense
               reimbursement, or similar type of payment or reimbursement.

       xiv.    Adherence to Bid Procedures. By submitting its Bid, each Potential
               Bidder agrees to (a) abide by and honor the terms of these Bid Procedures
               and agrees not to submit a Bid or seek to reopen the Auction after
               conclusion of the Auction and (b) serve as Back-Up Bidder, if its Bid is
               selected as the next highest or next best bid after the Successful Bid.

        xv.    As Is, Where Is. Each Bid must include a written acknowledgement and
               representation that the Potential Bidder relied upon its own independent
               review, investigation and/or inspection of any documents and/or Asset in
               making its bid, and that it did not rely upon any written or oral statements,
               representations, promises, warranties or guaranties whatsoever, whether
               express, implied, by operation of law or otherwise, regarding the Property,
               or the completeness of any information provided in connection with the
               Property, the Bidding Process or the Auction, except as expressly stated in
               these Bid Procedures or, as to the Successful Bidder, in the applicable asset
               purchase agreement.

       xvi.    Good Faith Purchaser. The Successful Bidder will have to confirm that
               the Sale undertaken by the Successful Bidder and the Trustee is at arm’s
               length, without collusion and in good faith within the meaning of Section
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 13 of 29




               363(m) of the Bankruptcy Code, and the Successful Bidder is entitled to
               the protections of Section 363(m) of the Bankruptcy Code.

      xvii.    Consent to Jurisdiction. The Potential Bidder must submit to the
               jurisdiction of the Bankruptcy Court and waive any right to a jury trial in
               connection with any disputes relating to the Trustee’s qualification of Bids,
               the Auction, the construction and enforcement of these Bid Procedures, the
               Sale documents, and the Closing, as applicable.

      xviii.   Submission and Acceptance of Qualified Bids. Each Bid must be
               submitted to R.J. Shannon and Kyung S. Lee, Shannon & Lee LLP, 2100
               Travis Street, Suite 1525, Houston, TX 77002, email: chris@jmbllp.com,
               klee@shannonleellp.com, rshannon@shannonleellp.com; and Christopher
               R. Murray, Jones Murray LLP, 602 Sawyer Street, Suite 400, Houston, TX
               77007 (collectively, the Notice Party”) on June 14, 2024 at 5:00 p.m.
               (prevailing Central Time) (the “Bid Deadline”).

               Bids fulfilling all of the preceding requirements, as determined by the
               Trustee, in his sole discretion, will be deemed a “Qualified Bid,” and such
               bidder shall constitute a “Qualified Bidder.” Any amendments or other
               modifications to any Bid must be delivered to the Notice Party.

      g. Auction. If the Trustee receives more than one Qualified Bid prior to the Bid
         Deadline, the Trustee shall conduct an auction (the “Auction”) on June 14,
         2024, at 1:00 p.m. (prevailing Central Time) or such later time or other place
         as the Trustee shall notify all Qualified Bidders who have submitted Qualified
         Bids.

          Two (2) business days prior to the Auction, the Trustee shall provide each
          Qualified Bidder participating in the Auction an indication as to which
          Qualified Bid is the highest or otherwise best Qualified Bid received before the
          Bid Deadline (such highest or otherwise best Qualified Bid – the “Baseline
          Bid”)

          The Trustee may announce at the Auction additional procedural rules that are
          reasonable under the circumstances (e.g., the amount of time allotted to make
          subsequent overbids) for conducting the Auction, so long as such rules are not
          inconsistent with these Bid Procedures. Based upon the terms of the Qualified
          Bids received, the number of Qualified Bidders participating in the Auction,
          and such other information as the Trustee determines is relevant, the Trustee
          may conduct the Auction in the manner it determines will achieve the maximum
          value for the Property.

          At the conclusion of each round of bidding at the Auction, the Trustee shall
          announce the then highest or otherwise best offer for the Property and the basis
          for such determination. Prior to concluding the Auction, the Trustee shall: (i)
          review each Qualified Bid on the basis of financial and contractual terms and
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 14 of 29




         the factors relevant to the sale process, including those factors affecting the
         speed and certainty of consummating the Sale; and (ii) identify and announce
         to all attending the Auction, the highest or otherwise best offer for the Property
         and any second highest offer (the “Successful Bid”) and the basis for such
         determination.

         The Trustee and the Successful Bidder shall be required to execute an asset
         purchase agreement for the Successful Bid at the conclusion of the Auction or
         immediately thereafter, and the Trustee shall take all actions required under the
         Bankruptcy Code and Federal and Local Rules of Bankruptcy Procedure. The
         Successful Bid shall be presented for court approval at the Sale Hearing.

      h. Break-Up Fee & Expense Reimbursement. The Stalking Horse Bidder shall
         not be entitled to a break-up fee in connection with the Stalking Horse Bid.

      i. Minimum Overbids Bids. Any overbid, after and above the Baseline Bid shall
         be made in increments valued at not less than $250,000 (or other amount as
         shall be announced at the Auction by the Trustee) in cash or in cash equivalents,
         or other forms of consideration acceptable to the Trustee.

      j. Acceptance and Approval of Successful Bid. The Trustee shall accept
         Qualified Bids as described in Section (f) and the Qualified Bidder that submits
         the Successful Bid will be deemed a Successful Bidder. The Successful Bid by
         the Successful Bidder shall be subject to approval by the Bankruptcy Court at
         the Sale Hearing.

      k. Sale Hearing. After the conclusion of the Auction, the Bankruptcy Court shall
         conduct a hearing (the “Sale Hearing”) in which the Trustee will seek entry of
         an order (the “Sale Order”), among other things: (i) authorizing and approving
         the Sale to the Successful Bidder pursuant to the terms and conditions set forth
         in the asset purchase agreement submitted by the Successful Bidder; (iii)
         authorizing the assumption and assignment of certain executory contracts as
         designated by the Successful Bidder; and (iv) authorizing the consummation of
         the Sale to the Successful Bidder through a chapter 11 plan of liquidation to be
         filed by NBK or as otherwise ordered by the Court. The Sale Hearing may be
         adjourned or rescheduled without notice other than by an announcement of the
         adjourned date in court. Following the entry of the Sale Order, if the Successful
         Bidder fails to consummate the Sale because of a breach or failure to perform
         on the part of such Successful Bidder, the Back-Up Bidder, as disclosed at the
         Sale Hearing, shall be deemed to be the Successful Bid and the Trustee shall be
         authorized to effectuate such sale without further order of the Bankruptcy
         Court.

      l. Return of Good Faith Deposit. The Good Faith Deposit of the Successful
         Bidder will, upon consummation of the Successful Bid, become property of the
         estate and be credited towards the Purchase Price. If the Successful Bidder (or
         Back-Up Bidder, if applicable) fails to consummate the Successful Bid (or
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 15 of 29




         Back-Up Bid, if applicable), then the Good Faith Deposit of such Successful
         Bidder (or Back-Up Bidder, if applicable) will be irrevocably forfeited to the
         estate and may be retained by the estate as liquidated damages, in addition to
         any and all rights, remedies, or causes of action that may be available to the
         estate.

      m. Modifications. The Trustee may: (i) upon receipt of a Bid prior to the Bid
         Deadline that is not a Qualified Bid, allow the Potential Bidder with the
         opportunity to remedy any deficiencies prior to the Auction; (iii) reject at any
         time before announcing the Successful Bid at the Auction, any bid that is: (x)
         inadequate or insufficient; or (y) not in conformity with the Bankruptcy Code
         or the Bid Procedures.

      n. Reservation of Rights. In addition to the rights set forth above, the Trustee
         may modify these Bid Procedures or impose, at or prior to the Auction,
         additional terms and conditions on the proposed Sale if, in his reasonable
         judgment, such modifications would be in the best interests of the estate and
         promote an open and fair sale process.
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 16 of 29




                             Schedule 1

                  Form of Confidentiality Agreement
      Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 17 of 29




                             CONFIDENTIALITY AGREEMENT

       This confidentiality agreement (“Agreement”) dated as of [DATE], 2024 (the “Effective
Date”) by and between Christopher R. Murray in his capacity as the Chapter 11 Trustee of Galleria
2424 Owner LLC (“Discloser”) and [RECIPIENT] (“Recipient”).

       WHEREAS, on December 5, 2023, Galleria 2425 Owner LLC (the “Debtor”) filed a
voluntary petition for relief under Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”) and is a debtor in In re Galleria 2425 Owner LLC, Case No. 23-34815 (JPN)
(the “Chapter 11 Case”), pending in the United States Bankruptcy Court for the Southern District
of Texas (the “Bankruptcy Court”).

       WHEREAS, Recipient is interested in entering into a possible transaction (the “Possible
Transaction”) for the purchase of the Property of Discloser.

        WHEREAS, Discloser intends to furnish Recipient and its Representatives (defined
below) with certain Confidential Information (defined below) to facilitate Recipient’s due
diligence in connection with the Possible Transaction.

        WHEREAS, as a condition to the delivery of the Confidential Information, Discloser
desires that Recipient and its Representatives maintain the confidentiality of the Confidential
Information and use the same only for the purposes contemplated by this Agreement.

       NOW, THEREFORE, in consideration for and as a condition to Discloser’s furnishing
Confidential Information, the parties agree as follows:

   A. Confidential Information

        As used in this Agreement, the term “Confidential Information” means all information
regarding the Discloser or its assets or businesses that is furnished to the Recipient, directly or
indirectly by the Discloser or its members, partners, directors, officers, employees, agents,
financing sources, and advisors (including attorneys, accountants, consultants, bankers, and
financial advisors) (“Representatives”) regardless of whether specifically identified as
“confidential” and regardless of whatever form or medium such information may take during or
after its communication and shall include, but not be limited to, information regarding the
Discloser’s financial data, operations, business records, programs, products, methods, techniques,
processes, patterns, plans, drawings, specifications, devices, prototypes, samples, demonstrations,
intellectual property, patents, patent applications and inventions not yet the subject of an issued
patent or published patent application, scientific and technical information, engineering data,
laboratory research data, business policies, business practices, projections, financial and economic
models, economic data, personally identifiable information about the individuals in the
organization, applicants for positions within the organization, information of persons whom
Discloser may someday like to have as part of its organization, competitive intelligence data,
information about those persons and entities with whom the Discloser interacts (including
employees, customers, potential customers, investors, joint venturers, vendors, and suppliers),
potential transactions, and all materials containing or reflecting such information.
      Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 18 of 29




        Notwithstanding the foregoing, “Confidential Information” shall not include information
(a) in the public domain at or subsequent to the time such portion was communicated to the
Recipient by the Discloser (other than as a result of violation of this Agreement), (b) in the
Recipient’s possession and to the Recipient’s knowledge free of any obligation of confidence at or
subsequent to the time such portion was communicated to the Recipient by the Discloser, or (c)
independently developed or acquired by the Recipient or any of its Representatives without any
violation of this Agreement.

        To the extent that any Confidential Information may include materials subject to attorney-
client privilege, the Discloser is not waiving and will not be deemed to have waived or diminished
its attorney work-product protections, attorney-client privileges, or similar protections and
privileges as a result of disclosing any Confidential Information (including Confidential
Information related to pending or threatened litigation) to the Recipient, regardless of whether the
Discloser has asserted or is or may be entitled to assert such privileges and protections. The parties
(a) share a common legal and commercial interest in all such Confidential Information that is
subject to such privileges and protections; (b) are or may become joint defendants in proceedings
to which such Confidential Information covered by such protections and privileges relates; and (c)
intend that such privileges and protections remain intact should either party become subject to any
actual or threatened proceeding to which such Confidential Information covered by such
protections and privileges relates. In furtherance of the foregoing, the Recipient shall not claim or
contend, in proceedings involving either party, that the Discloser waived its attorney work-product
protections, attorney-client privileges, or similar protections and privileges with respect to any
information, documents, or other material not disclosed to the Recipient due to the Discloser
disclosing Confidential Information (including Confidential Information related to pending or
threatened litigation) to the Recipient.

   B. Nondisclosure and Non-Use Obligation

        Recipient agrees to maintain the confidentiality of the Confidential Information and shall
not, directly or indirectly, during the term of this Agreement: (a) transfer or disclose orally, in
writing, or electronically any Confidential Information to any third party, except for its internal
use or use by its Representatives in connection with making a bid for a Possible Transaction; or
(b) use any Confidential Information for any purpose other than for the purpose of evaluating the
interests of Recipient in making a bid for a Possible Transaction.

   C. Disclosure to Representatives

        It is understood that the Recipient may disclose Confidential Information to only those of
Recipient’s Representatives who (a) require such material for the purpose of evaluating the
Possible Transaction and (b) are informed by Recipient of the confidential nature of the
Confidential Information and the obligations of this Agreement and agrees to abide by such terms
Recipient further agrees that Recipient and Recipient’s Representatives will not use any of the
Confidential Information for any reason or purpose other than to evaluate and to negotiate the
Possible Transaction. Recipient also agrees to be responsible for enforcing this Agreement as to
Recipient’s Representatives and to take such action, legal or otherwise, to the extent necessary to
cause them to comply with this Agreement and thereby prevent any disclosure of the Confidential



                                                  2
      Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 19 of 29




Information by any of the Recipient’s Representatives (including all actions that the Recipient
would take to protect its own trade secrets and confidential information) except as permitted by
this Agreement.

   D. Legal Proceedings

        In the event that Recipient or any of its Representatives is required by any law, regulation,
interrogatories, requests for information or documents, subpoenas, civil investigative demand, or
similar process to disclose any Confidential Information, to the extent reasonably practicable, such
party will provide Discloser with prompt written notice of such request or requirement so that
Discloser may seek an appropriate protective order or take other appropriate action (and if
Discloser seeks such an order or takes such action, such party will provide such cooperation as
Discloser shall reasonably request). If Recipient or any of its Representatives are nonetheless
required to disclose Confidential Information, such party may disclose only that portion of the
Confidential Information that is legally required to be disclosed and will exercise reasonable
efforts to obtain assurance that confidential treatment will be accorded such Confidential
Information.

   E. Return or Destruction of Confidential Information

        Recipient agrees that Discloser retains all right, title and interest in the Confidential
Information and that at Discloser’s option it shall either return to Discloser or destroy all
Confidential Information, and all copies thereof, within ten (10) calendar days of the written
request therefor by Discloser; provided, however, that Recipient may retain any copies, extracts,
or other reproductions of such Confidential Information in whole or in part (a) to the extent
necessary to comply with legal or regulatory recordkeeping requirements of general application,
or (b) in accordance with customary recordkeeping policies of Recipient (including any internal
policy or system relating to the archiving or backup storage of electronic data).

   F. No Obligation to Negotiate or Enter a Transaction

        Discloser reserves the right, in its sole discretion, to reject any and all proposals made by
Recipient or Recipient’s Representatives with regard to a Possible Transaction and to terminate
discussions and negotiations with Recipient and Recipient’s Representatives at any time. Neither
Recipient nor Discloser shall have rights or obligations of any kind whatsoever with respect to a
Possible Transaction by virtue of this Agreement other than for the matters specifically agreed to
herein. Without limiting the preceding sentences, nothing in this Agreement requires either
Recipient or Discloser to enter into a Possible Transaction or to negotiate such transaction for any
specified period of time.

   G. Termination

        The obligations set forth in this Agreement shall survive for a period of time from the
Effective Date to a date that is the earlier of (a) the completion of the Possible Transaction between
Disclosure and Recipient, and (b) six months from the Effective Date.




                                                  3
      Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 20 of 29




   H. No Representations or Warranties

        Discloser retains the right to determine, in its sole discretion, what information, properties,
and personnel it wishes to make available to Recipient, and neither Discloser nor its
Representatives make any representation or warranty (express or implied) concerning the
completeness or accuracy of the Confidential Information, except pursuant to representations and
warranties that may be made in a definitive agreement for a Possible Transaction, if any, between
the parties. Recipient agrees that that it is not entitled to rely on the completeness or accuracy of
the Confidential Information and that it will be entitled to rely solely on such representations and
warranties as may be included in any definitive agreement with respect to a Possible Transaction,
subject to such limitations and restrictions as may be contained therein.

   I. Remedies

        Recipient acknowledges and agrees that Discloser may suffer irreparable injury not
compensable by money damages in the event of breach of the provisions of this Agreement and
therefore may not have an adequate remedy at law. Accordingly, Discloser shall be entitled to
injunctive relief to prevent or curtail any such breach, threatened or actual, without necessity of
posting a bond. The foregoing shall be in addition and without prejudice to such other rights as
Discloser may have at law or in equity.

   J. Miscellaneous

        Modification. This Agreement may not be amended or modified except by an instrument
in writing signed by or on behalf of the parties hereto.

        Waiver. Neither the failure nor any delay by any party in exercising any right, power, or
privilege under this letter agreement will operate as a waiver of such right, power, or privilege,
and no single or partial exercise of any such right, power, or privilege will preclude any other or
further exercise of such right, power, or privilege or the exercise of any other right, power, or
privilege.

        Severability. The invalidity or unenforceability of any provision of this Agreement shall
not affect the validity or enforceability of any other provisions of this Agreement, which shall
remain in full force and effect. If any of the covenants or provisions of this Agreement are
determined to be unenforceable by reason of its extent, duration, scope, or otherwise, then the
parties contemplate that the court making such determination shall reduce such extent, duration,
scope or other provision and enforce them in their reduced form for all purposes contemplated by
this Agreement.

        Construction. The headings of sections in this Agreement are provided for convenience
only and will not affect its construction or interpretation. All words used in this Agreement will be
construed to be of such gender or number as the circumstances require. Unless otherwise expressly
provided, the word “including” does not limit the preceding words or terms. The parties have
participated jointly in the negotiation and drafting of this Agreement. If an ambiguity or question
of intent or interpretation arises, this Agreement shall be construed as if drafted jointly by the



                                                  4
      Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 21 of 29




parties, and no presumption or burden of proof shall arise favoring or disfavoring any party by
virtue of the authorship of any of the provisions of this Agreement.

        Execution. This Agreement may be executed in one or more counterparts, each of which
will be deemed to be an original copy of this Agreement, and all of which, when taken together,
shall be deemed to constitute one and the same agreement. The exchange of copies of this
Agreement and of signature pages by facsimile transmission shall constitute effective execution
and delivery of this Agreement as to the parties and may be used in lieu of the original Agreement
for all purposes. Signatures of the parties transmitted by facsimile shall be deemed to be their
original signatures for any purpose whatsoever.

        Jurisdiction. Without limiting any Party’s right to appeal any order of the Bankruptcy
Court, the Parties agree that the Bankruptcy Court shall retain sole jurisdiction over any legal
action or proceeding with respect to this Agreement, and each of the Parties consents to the
jurisdiction of the Bankruptcy Court (and of the appropriate appellate courts) in any such action
or proceeding and waives any objection to venue laid therein. If the Chapter 11 Case has been fully
and finally dismissed and/or the Bankruptcy Court declines jurisdiction, the Parties agree to and
hereby unconditionally and irrevocably submit to the exclusive jurisdiction of the State of Texas
in the County of Harris, or in the United States District Court for the Southern District of Texas,
and each of the Parties consents to the jurisdiction of such courts (and of the appropriate appellate
courts) in any such action or proceeding and waives any objection to venue laid therein.

       Governing Law. This letter agreement will be governed by the laws of the State of Texas
without regard to conflicts-of-laws principles.




                           [Remainder of Page Intentionally Left Blank]




                                                 5
      Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 22 of 29




       IN WITNESS WHEREOF, the parties hereto have duly executed this Agreement as of the

date first above written.



                                         [DISCLOSER’S NAME]




                                         By: ______________________________________
                                         Name:
                                         Title:



                                         [RECIPIENT’S NAME]



                                         By: ______________________________________
                                         Name:
                                         Title:




                                            6
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 23 of 29




                             Exhibit 2

                        Purchase Agreement




                       [To Be Supplemented]
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 24 of 29




                             Exhibit 3

                Assumption & Assignment Procedures
         Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 25 of 29




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                             §
                                                       §
    GALLERIA 2425 Owner, LLC                                                Case No. 23-34815 (JPN)
                                                       §
                                                       §                    Chapter 11
                    Debtor.                            §
                                                       §


                NOTICE OF ASSUMPTION AND ASSIGNMENT PROCEDURES

       Below are the assumption and assignment procedures (the “Assumption & Assignment
Procedures”) contemplated in the Trustee’s motion for, among other things, entry of an order (a)
authorizing the entry into an asset purchase agreement (the “Stalking Horse Agreement”), (b)
authorizing and approving the bidding procedures (the “Bid Procedures”) in connection with the
proposed auction (the “Auction”) for the Sale of the Property to a Successful Bidder, 1 (c)
scheduling dates and deadlines in connection with approval of the Sale, and (d) approving
procedures for the assumption and assignment of executory contracts and unexpired leases in
connection with the Sale.

                a. On or before June 7, 2024, the Trustee shall file a schedule of cure obligations
                   (the “Contract & Cure Schedule”) listing all of the Debtor’s leases and executory
                   contracts that may be assumed and assigned (the “Assigned Contracts”) and the
                   amount, if any, that the Trustee contends is the amount needed to cure any defaults
                   with respect to such Assigned Contracts (the “Cure Amounts”).

                b. Upon filing, a copy of the Contract & Cure Schedule and these Assumption &
                   Assignment Procedures will be served on each of the counterparties to the
                   Assigned Contracts listed on the Contract & Cure Schedule.

                c. The Trustee shall amend the Contract & Cure Schedule promptly after the
                   completion of the Auction to update the information contained therein with respect
                   to the Successful Bid, including but not limited to adding additional leases and
                   executory contracts (which shall then be deemed Assigned Contracts) and
                   corresponding cure amounts (which shall be deemed Cure Amounts) and shall
                   serve an amended Contract & Cure Schedule on each of the counterparties to the
                   Assigned Contracts listed thereon.

                d. The Successful Bidder approved by the Bankruptcy Court as submitting the
                   highest or otherwise best bid for purchase of the Property (the “Approved
                   Purchaser”), at any time prior to closing on the sale of the Property, may identify
                   executory contracts and leases to be (a) added to the Contract and Cure Schedule

1
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Bid Procedures.
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 26 of 29




       (which contracts shall then be deemed Assigned Contracts) and the corresponding
       cure amounts (which shall be deemed Cure Amounts) and (b) deleted from the list
       of Assigned Contracts (which shall then cease to be Assigned Contracts). The
       Trustee shall give notice (the “Supplemental Notice”) to counterparties to
       executory contracts and leases added to or deleted from the Contract and Cure
       Schedule.

    e. Any objections (“Assignment Objections”) to the assumption and assignment of
       any Assigned Contract, including, but not limited to, objections relating to
       adequate assurance of future performance or to the cure amount set forth in the
       Contract & Cure Schedule must be filed with the Bankruptcy Court and served
       upon the Notice Party on or before July 1, 2024, at 5:00 p.m. (prevailing Central
       Time) (the “Assignment Objection Deadline”).

    f. Any counterparty failing to file an Assignment Objection by the Assignment
       Objection Deadline shall be forever barred from (i) objecting to the Cure Amount
       set forth on the Contract & Cure Schedule with respect to its Assigned Contract;
       (ii) seeking additional amounts arising under its Assigned Contract prior to the
       Closing from the Successful Bidder; and (iii) objecting to the assumption and
       assignment of its Assigned Contract to the Successful Bidder.

    g. Any Assignment Objections required to be filed prior to the date of the Sale
       Hearing and not consensually resolved prior to the Sale Hearing shall be heard at
       the Sale Hearing with any related Cure Amounts or adequate assurance of future
       performance being fixed by the Bankruptcy Court. All other objections to the
       proposed assumption and assignment of the Assigned Contracts will be heard at
       the Sale Hearing; provided, however, all Assignment Objections for which the
       Assignment Objection Deadline is after the date of the Sale Hearing and which
       objection is not filed prior to the Sale Hearing, shall be heard on a date to be
       determined by the Trustee and the Approved Purchaser, subject to the availability
       of the Bankruptcy Court.

    h. Except as may otherwise be agreed to by all parties to an Assigned Contract, on or
       before the Closing, the cure of any defaults under Assigned Contracts necessary
       to permit assumption and assignment thereof shall be by (i) payment of the
       undisputed Cure Amount, and/or (ii) establishment of a reserve with respect to any
       disputed Cure Amount. The party responsible for paying Cure Amounts shall be
       as set forth in the Stalking Horse Agreement or other agreement between the
       Successful Bidder and the Seller.




                                       2
Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 27 of 29




                             Exhibit 4

                         Form Sale Notice
         Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 28 of 29




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

    In re:                                             §
                                                       §
    GALLERIA 2425 Owner, LLC                                                Case No. 23-34815 (JPN)
                                                       §
                                                       §                    Chapter 11
                    Debtor.                            §
                                                       §


                          NOTICE OF BID DEADLINE AND AUCTION IN
                          CONNECTION WITH THE SALE OF PROPERTY

       PLEASE TAKE NOTICE that on December 5, 2023, the above-captioned debtor (the
“Debtor”) filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”), in the United States Bankruptcy Court for the Southern District of Texas,
Houston Division (the “Bankruptcy Court”).

        PLEASE TAKE NOTICE that on April [●], 2024, in connection with the proposed sale
(the “Sale”) of certain property located at 2425 West Loop South, Houston, Texas 77027 (the
“Property”) to National Bank of Kuwait, S.A.K.P., New York Branch (“NBK” or the “Stalking
Horse Bidder”) or another successful bidder or bidders (each, a “Successful Bidder”) at an auction,
the Trustee filed a motion [ECF No. [●]] (the “Motion”) seeking, among other things, entry of an
order (a) authorizing entry into an asset purchase agreement (the “Stalking Horse Agreement”),
(b) authorizing and approving the bidding procedures (the “Bid Procedures”) in connection with
the proposed auction (the “Auction”) for the Sale of the Property to a Successful Bidder, (c)
scheduling dates and deadlines in connection with approval of the Sale, and (d) approving
procedures for the assumption and assignment of executory contracts and unexpired leases in
connection with the Sale (the “Assignment & Assumption Procedures” together with the Motion,
Stalking Horse Agreement, Bid Procedures, the “Pleadings”).

       PLEASE TAKE FURTHER NOTICE that, by order dated [●], 2024, the Bankruptcy
Court entered an order approving the Bid Procedures [ECF No. [●]] (the “Bid Procedures Order”).

       PLEASE TAKE FURTHER NOTICE that, all interested parties are invited to submit a
Qualified Bid1 and to make offers to purchase the Property in accordance with the terms of the Bid
Procedures and the Bid Procedures Order. The deadline to submit bids (the “Bid Deadline”) is
June 14, 2024, at 5:00 p.m. (prevailing Central Time).

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Bid Procedures Order, the
Trustee intends to conduct an Auction for the sale of the Property on June 18, 2024, at 1:00 p.m.




1
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Bid Procedures.
      Case 23-34815 Document 254 Filed in TXSB on 04/29/24 Page 29 of 29




(prevailing Central Time), or at such other place and time as the Trustee shall notify all Qualified
Bidders who have submitted Qualified Bids.

       PLEASE TAKE FURTHER NOTICE, that the Sale Hearing to consider approval of
the sale of the Property to the Successful Bidder at the Auction, free and clear of all liens,
claims, interests, and encumbrances in accordance with Bankruptcy Code section 363(f) will
be held before the Honorable Jeffrey P. Norman, United States Bankruptcy Judge for the
Southern District of Texas, Houston Division, Courtroom 403, 515 Rusk, Houston, Texas
77002, on [●], 2024 at [●] :00 [●].m.

        PLEASE TAKE FURTHER NOTICE that, this Notice is subject to the complete terms
and conditions of the Motion, the Bid Procedures, and the Bid Procedures Order, which shall
control in the event of any conflict, and the Trustee encourages parties in interest to review such
documents in their entirety. Copies of the Pleadings may be obtained by written request to counsel
to the Trustee R.J. Shannon and Kyung S. Lee, Shannon & Lee LLP, 2100 Travis Street, Suite
1525, Houston, TX 77002, email: klee@shannonleellp.com and rshannon@shannonleellp.com. In
addition, copies of the Pleadings are available for a fee via PACER by visiting
http://ecf.txsb.uscourts.gov, and are on file with the Bankruptcy Court and available for inspection
during regular business hours at the office of the Clerk of the Bankruptcy Court, United States
Bankruptcy Court for the Southern District of Texas, Bob Casey United States Courthouse, 515
Rusk, Houston, TX 77002.

DATED: [●], 2024                           SHANNON & LEE LLP

                                           /s/
                                           Kyung S. Lee (TBA No. 12128400)
                                           R. J. Shannon (TBA No. 24108062)
                                           2100 Travis Street, STE 1525
                                           Houston, TX 77002
                                           Telephone: (713) 714-5770
                                           klee@shannonleellp.com
                                           rshannon@shannonleellp.com

                                           Counsel to the Chapter 11 Trustee




                                                 2
